          Case 3:18-cv-07818-JD Document 169 Filed 10/04/21 Page 1 of 4



 1   LOTFI LEGAL, LLC                                   NATIONAL IMMIGRATION LAW CENTER
     SHABNAM LOTFI (pro hac vice)                       MAX S. WOLSON (pro hac vice)
 2   VERONICA SUSTIC (pro hac vice)                     P.O. Box 34573
     P.O. Box 64                                        Washington, DC 20043
 3   Madison, WI 53701                                  Telephone:   (202) 216-0261
     Telephone: (608) 259-6226                          Facsimile:   (202) 216-0266
 4   Facsimile:    (208) 977-9974                       wolson@nilc.org
 5   shabnam@lotfilegal.com
     veronica@lotfilegal.com                            ARNOLD & PORTER KAYE SCHOLER LLP
 6                                                      JOHN A. FREEDMAN (pro hac vice)
     ATTORNEYS FOR EMAMI PLAINTIFFS                     601 Massachusetts Ave., NW
 7                                                      Washington, DC 20001-3743
     BRIAN M. BOYNTON                                   Telephone:   (202) 942-5000
 8   Acting Assistant Attorney General                  Facsimile:   (202) 942-5999
     Civil Division                                     john.freedman@arnoldporter.com
 9
     WILLIAM C. PEACHEY                                 ARNOLD & PORTER KAYE SCHOLER LLP
10                                                      DANIEL B. ASIMOW (SBN 165661)
     Director, Office of Immigration Litigation
                                                        Three Embarcadero Center, 10th Floor
11   District Court Section
                                                        San Francisco, CA 94111
12                                                      Telephone:    (415) 471-3100
     SAMUEL P. GO                                       Facsimile:    (415) 471-3400
     Assistant Director                                 daniel.asimow@arnoldporter.com
13
     NICOLE GRANT                                       ASIAN AMERICANS ADVANCING
14                                                      JUSTICE-ASIAN LAW CAUCUS
     P. ANGEL MARTINEZ
                                                        HAMMAD ALAM (SBN 303812)
15   Senior Litigation Counsel
                                                        55 Columbus Ave.
16                                                      San Francisco, CA 94111
     DAVID KIM                                          Telephone:    (415) 848-7711
     Trial Attorney                                     hammada@advancingjustice-alc.org
17

18   Ben Franklin Station, P.O. Box 878                 IRANIAN AMERICAN BAR ASSOCIATION
     Washington, DC 20044                               ELICA S. VAFAIE (CA SBN 284186)
19   Telephone: (202) 532-4094                          BABAK G. YOUSEFZADEH (CA SBN 235974)
     Email: David.Kim4@usdoj.gov                        5185 MacArthur Blvd. NW, Suite 624
20                                                      Washington, DC 20016
     ATTORNEYS FOR DEFENDANTS                           Telephone:     (415) 774-3191
21                                                      evafaie@lccrsf.org
                                                        byousefzadeh@sheppardmullin.com
22
                                                        COUNCIL ON AMERICAN-ISLAMIC
23
                                                        RELATIONS, CALIFORNIA
24                                                      ZAHRA A. BILLOO (SBN 267634)
                                                        BRITTNEY REZAEI (SBN 309567)
25                                                      3160 De La Cruz Blvd., Suite 110
                                                        Santa Clara, CA 95054
26                                                      Telephone:     (408) 986-9874
                                                        Facsimile:     (408) 986-9875
27                                                      zbilloo@cair.com
                                                        brezaei@cair.com
28
                                                        ATTORNEYS FOR PARS PLAINTIFFS

     JOINT SUBMISSION OF CHART ESTABLISHING PARTIES’ STANCES RE WHICH PLAINTIFFS’ CLAIMS REMAIN LIVE
                                   Nos. 3:18-cv-01587-JD & 3:18-cv-07818-JD
          Case 3:18-cv-07818-JD Document 169 Filed 10/04/21 Page 2 of 4



 1                             UNITED STATES DISTRICT COURT

 2                          NORTHERN DISTRICT OF CALIFORNIA

 3                                  SAN FRANCISCO DIVISION

 4

 5   PARS EQUALITY CENTER, et al.,                       Case No. 3:18-cv-01587-JD
                                                         Case No. 3:18-cv-07818-JD
 6                              Plaintiffs,
                                                         JOINT SUBMISSION OF CHART
 7         v.                                            ESTABLISHING PARTIES’ STANCES
                                                         REGARDING WHICH PLAINTIFFS’
 8   WILLIAM BURNS, et al.,                              CLAIMS REMAIN LIVE
 9                              Defendants.
10
     PARS EQUALITY CENTER, et al.,
11

12         and

13   FARANGIS EMAMI, et al.,

14                              Plaintiffs,

15         v.

16   ALEJANDRO MAYORKAS et al.,
17                              Defendants.
18

19

20

21

22

23

24

25

26

27

28


     JOINT SUBMISSION OF CHART ESTABLISHING PARTIES’ STANCES RE WHICH PLAINTIFFS’ CLAIMS REMAIN LIVE
                                  Nos. 3:18-cv-01587-JD & 3:18-cv-07818-JD
            Case 3:18-cv-07818-JD Document 169 Filed 10/04/21 Page 3 of 4



 1          Pursuant to this Court’s September 2, 2021 Minute Order (ECF No. 188 in Emani and ECF

 2   No. 167 in Pars), the Parties respectfully submit the attached Exhibit A. Exhibit A consists of a chart,

 3   as ordered by the Court, identifying the parties’ positions regarding which, if any, visa applicants’

 4   circumstances support live claims.

 5

 6   DATED: October 4, 2021                            Respectfully submitted,

 7   /s/ Shabnam Lotfi                                 /s/ John A. Freedman
     SHABNAM LOTFI                                     JOHN A. FREEDMAN
 8   LOTFI LEGAL, LLC                                  ARNOLD & PORTER KAYE SCHOLER LLP
     SHABNAM LOTFI (pro hac vice)                      JOHN A. FREEDMAN (pro hac vice)
 9   VERONICA SUSTIC (pro hac vice)                    601 Massachusetts Ave., NW
     P.O. Box 64                                       Washington, DC 20001-3743
10   Madison, WI 53701                                 DANIEL B. ASIMOW (SBN 165661)
11                                                     Three Embarcadero Center, 10th Floor
     ATTORNEYS FOR EMAMI PLAINTIFFS
                                                       San Francisco, CA 94111
12
     BRIAN M. BOYNTON                                  NATIONAL IMMIGRATION LAW CENTER
13   Acting Assistant Attorney General                 MAX S. WOLSON (pro hac vice)
     Civil Division                                    P.O. Box 34573
14
                                                       Washington, D.C. 20043
     WILLIAM C. PEACHEY
15
     Director, Office of Immigration Litigation        COUNCIL ON AMERICAN-ISLAMIC
16   District Court Section                            RELATIONS, CALIFORNIA
                                                       ZAHRA A. BILLOO (SBN 267634)
17   SAMUEL P. GO                                      BRITTNEY REZAEI (SBN 309567)
     Assistant Director                                3160 De La Cruz Blvd., Suite 110
18                                                     Santa Clara, CA 95054
     NICOLE GRANT
19                                                     ASIAN AMERICANS ADVANCING
     P. ANGEL MARTINEZ
                                                       JUSTICE-ASIAN LAW CAUCUS
20   Senior Litigation Counsel                         HAMMAD ALAM (SBN 303812)
                                                       55 Columbus Ave.
21   DAVID KIM                                         San Francisco, CA 94111
     Trial Attorney
22                                                     IRANIAN AMERICAN BAR ASSOCIATION
23   Ben Franklin Station, P.O. Box 878                ELICA S. VAFAIE (CA SBN 284186)
     Washington, DC 20044                              BABAK G. YOUSEFZADEH
24   Telephone: (202) 532-4094                         5185 MacArthur Blvd. NW, Suite 624
     Email: David.Kim4@usdoj.gov                       Washington, DC 20016
25                                                     ATTORNEYS FOR PARS PLAINTIFFS
     ATTORNEYS FOR DEFENDANTS
26

27

28

                                                      -1-
      JOINT SUBMISSION OF CHART ESTABLISHING PARTIES’ STANCES RE WHICH PLAINTIFFS’ CLAIMS REMAIN LIVE
                                      Nos. 3:18-cv-01587-JD & 3:18-cv-07818-JD
            Case 3:18-cv-07818-JD Document 169 Filed 10/04/21 Page 4 of 4



 1                      ATTESTATION OF CONCURRENCE IN THE FILING

 2          Pursuant to Civil Local Rule 5-1(i)(3), I declare that concurrence has been obtained from all

 3   counsel to file this document with the Court.

 4                                                         /s/ John A. Freedman
                                                           JOHN A. FREEDMAN
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                     -2-
      JOINT SUBMISSION OF CHART ESTABLISHING PARTIES’ STANCES RE WHICH PLAINTIFFS’ CLAIMS REMAIN LIVE
                                     Nos. 3:18-cv-01587-JD & 3:18-cv-07818-JD
